
This was an an application for a Writ of Error to a judgment of the Superior Court of Spottsylvania, over-ruling an application for a Writ of Error to a judgment of the Hustings Court of Eredericksburg. The Defendant was presented for unlawful gaming. The Presentment itself, as made by the Grand Jury, was very full, and-well drawn. ,The entry made by the Clerk of the Hustings Court, on his Minute Book, of the making of the Presentment, was very short: thus, after naming the Grand Jury, and the finding a Bill of Indictment, the entry was as follows : “And the said Grand Jury also made the following Presentment;” “We the jurors, &amp;c.” and following thereafter, “Ordered, that Joshua Myers, who was this day presented *by the Grand Jury, be summoned to appear here at May Court next, to answer the said Presentment.” On the trial of the Presentment, the Defendant pleaded, “that there is not any record of the supposed Presentment which he is summoned to answer, remaining in the said Court.” The Court decided that there was such record ; and upon the general issue, the Defendant was convicted, and judgment rendered for the fine. The minute of the Clerk obviously referred to the written Presentment made by the Grand Jury, which Presentment itself was a part of the records of the Court. The motion was over-ruled by the Superior Court, and to that judgment, the General Court also refused to grant a Writ of Error.
